                                            Case 2:18-cv-00679-RFB-GWF Document 19 Filed 09/18/18 Page 1 of 3



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                                    11   Attorneys for Plaintiff Dewann Williams
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                                                                UNITED STATES DISTRICT COURT
      Las Vegas, NV 89148




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                                                                     DISTRICT OF NEVADA
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                                            Dewann Williams,                                    Case No. 2:18-cv-00679-RFB-GWF
                                    16
                                                            Plaintiff,                          NOTICE OF SETTLEMENT
                                    17
                                            v.
                                    18
                                            Santander Consumer USA, Inc.,
                                    19
                                    20                      Defendant.
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                                                                                       NOTICE
                                    25
                                                 The dispute between Plaintiff Dewann Williams (“Plaintiff”) and Defendant
                                    26
                                         Santander Consumer USA, Inc., (“Defendant”) has been resolved. Plaintiff
                                    27
                                         anticipates filing dismissal documents as to Plaintiff’s claims against Defendant
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                                         NOTICE OF SETTLEMENT                           !1                     CASE NO. 2:18-CV-00679-RFB-GWF
                                                 Case 2:18-cv-00679-RFB-GWF Document 19 Filed 09/18/18 Page 2 of 3



                                          1   with prejudice within 60 days—on or before November 19, 2018.
                                          2
                                          3          DATED this 18th day of September 2018.
                                          4
                                          5                                                       Respectfully submitted,
                                          6
                                                                                                  KAZEROUNI LAW GROUP, APC
                                          7
                                          8                                                       By: /s/ Michael Kind
                                                                                                      Michael Kind, Esq.
                                          9
                                                                                                      6069 S. Fort Apache Rd., Ste. 100
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       Las Vegas, Nevada 89148




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                                              NOTICE OF SETTLEMENT                           !2                     CASE NO. 2:18-CV-00679-RFB-GWF
                                            Case 2:18-cv-00679-RFB-GWF Document 19 Filed 09/18/18 Page 3 of 3



                                     1                                  CERTIFICATE OF SERVICE
                                     2          I HEREBY CERTIFY pursuant to Rule 5 of the Federal Rules of Civil
                                     3   Procedure that on September 18, 2018, the foregoing Notice of Settlement was filed
                                     4   and served via CM/ECF to all parties appearing in this case.
                                     5
                                                                                   KAZEROUNI LAW GROUP, APC
                                     6
                                     7                                             By: /s/ Michael Kind
                                                                                       Michael Kind, Esq.
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      Las Vegas, NV 89148




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                                         NOTICE OF SETTLEMENT                           !3                     CASE NO. 2:18-CV-00679-RFB-GWF
